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           In the United States Court of Federal Claims
                                         No. 21-1695C
                                    Filed: September 9, 2021


 BLUE ORIGIN FEDERATION, LLC,

                    Plaintiff,

 v.

 UNITED STATES,

                   Defendant.


                                             ORDER

         The Court will hold oral argument via teleconference on the plaintiff’s motion to unseal
document (ECF 33) on September 13, 2021, at 2:00 p.m. EDT. The Court will circulate the
dial-in information.


      It is so ORDERED.
                                                                    s/ Richard A. Hertling
                                                                    Richard A. Hertling
                                                                    Judge
